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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
------------------------------------------------------------------------X
JOHN DOE,
                                                                            Civil Action No: 18-cv-12150
                          Plaintiff,


                 -against-


HARVARD UNIVERSITY, HARVARD UNIVERSITY
BOARD OF OVERSEERS, THE PRESIDENT AND
FELLOWS OF HARVARD COLLEGE, and BRIGID
HARRINGTON, in her individual and official capacity,

                           Defendants.
------------------------------------------------------------------------X

                        MEMORANDUM OF LAW IN SUPPORT OF
                  PLAINTIFF’S EX PARTE MOTION TO PROCEED UNDER
                      PSEUDONYM AND FOR PROTECTIVE ORDER

        Plaintiff, by his attorneys, Nesenoff & Miltenberg, LLP, hereby seeks authorization to

file a Complaint in the above-captioned matter as a pseudonymous Plaintiff. In light of the

serious nature of the allegations contained in the Complaint, Plaintiff is justifiably concerned

about the potential irreparable harm that could further prevent Plaintiff from proceeding with his

future endeavors. Plaintiff’s identity as described in the Complaint should not be disclosed to the

public due to the nature of the allegations in said Complaint. See Declaration of Tara J. Davis,

Esq. (“Davis Decl.”) attached to Plaintiff’s Ex Parte Motion to Proceed Under Pseudonym and

for Protective Order.

        Plaintiff is prepared to provide a statement of his true identity under seal, upon the

Court’s request.
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                                  STATEMENT OF FACTS

       Plaintiff, a student at Harvard University (“Harvard” or “HU”), was falsely accused by

fellow Harvard student Jane Roe of sexual assault. Specifically, Roe alleged Plaintiff sexually

assaulted her while she was intoxicated.

       On April 1, 2017 Doe and Roe attended a party with other members of their acapella

group. The two were good friends and had been celebrating at a post-concert party. Both Doe

and Roe had been drinking that night and engaged in flirtatious behavior with one another.

       Following the party, Doe and another group member helped Roe carry equipment back to

her apartment in University housing. When they arrived at the apartment, Roe invited Doe to

stay the night, which he did. Thereafter, Doe and Roe engaged in consensual sexual activity.

Upon waking up the following morning, Roe expressed regret about her encounter with Doe

because she had a boyfriend.

       One month later, on May 5, 2017 Doe was notified by Harvard’s Title IX Coordinator

Brigid Harrington (“Harrington” or the “Investigator”) that he was the subject of an investigation

being conducted by Harvard’s Office of Dispute Resolution (“ODR”), stemming from the

encounter with Roe that occurred in the early morning of April 2, 2017.

       After conducting only one interview with Plaintiff, repeatedly denying him an

opportunity to meaningfully respond to the allegations against him, and engaging in numerous

violations of Harvard’s policies, on October 18, 2017, Harrington released the Final

Investigation Report (the “Final Report”), in which she found it more likely than not that Doe

violated Harvard’s policies on non-consensual sexual contact.

       Ultimately, on January 24, 2018, Plaintiff’s appeal was denied and the findings of

responsibility and sanction of a four (4) semester suspension were upheld.




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       When Defendants found Plaintiff guilty of violating Harvard’s sexual harassment policy,

Plaintiff was deprived of his fundamental right to a fair process and was discriminated against on

the basis of his male sex, as well as his race.

       As a result of HU’s unlawful actions, Plaintiff’s reputation is tarnished, his educational

future is uncertain, and his career prospects are likely ruined. Without appropriate redress, the

unjustified decision and sanction will continue to cause irreversible damage to Plaintiff. Plaintiff

therefore seeks redress from this Court to undo the wrongs occasioned by Harvard to his

education and future.

       In light of these facts, Plaintiff should be permitted to protect his identity by filing the

Complaint under a pseudonym. Plaintiff is prepared to address measures to protect the

confidentiality of his identity should the Court require disclosure to the public at a later stage in

the proceedings.

                                           ARGUMENT

       Many federal courts have permitted parties to proceed anonymously when special

circumstances arise. Generally, in determining whether to permit a party to proceed

anonymously, a court “must balance the need for anonymity against the general presumption that

parties’ identities are public information and the risk of unfairness to the opposing party.”

Plaintiffs I Thru XXIII v. Advanced Textile Corp., 214 F. 3d 1058, 1068 (9th Cir. 2000). As

neither the U.S. Supreme Court nor the First Circuit has definitively articulated the

circumstances under which a plaintiff may use a pseudonym, the Court must look to the

framework established by neighboring district and circuit courts. The District Court of New

Hampshire in Doe v. Trustees of Dartmouth College recently examined whether a plaintiff

should be permitted to proceed under a pseudonym in his action challenging a disciplinary

finding of Dartmouth College related to a charge of sexual misconduct. Remarking that the Third



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Circuit’s test is consistent with the overall aim of the First Circuit’s framework for sealing

judicial records, the District Court of New Hampshire relied on the nine-factor balancing test

articulated in Doe v. Megless, 654 F.3d 404 (3d Cir. 2011), to determine whether the plaintiff

could proceed under a pseudonym. Doe v. Trustees of Dartmouth Coll., No. 18-CV-040-LM,

2018 WL 2048385, at *4 (D.N.H. May 2, 2018).

        Recognizing that the court must balance the need for confidentiality against the public

interest in disclosure (Doe v. Bell Atl. Bus. Sys. Servs., Inc., 162 F.R.D. 418, 420 (D. Mass.

1995)), the Third Circuit identified the following relevant factors for consideration: (1) the extent

to which the identity of the litigant has been kept confidential; (2) the bases upon which

disclosure is feared or sought to be avoided, and the substantiality of these bases; (3) the

magnitude of the public interest in maintaining the confidentiality of the litigant’s identity; (4)

whether, because of the purely legal nature of the issues presented or otherwise, there is an

atypically weak public interest in knowing the litigant’s identities; (5) the undesirability of an

outcome adverse to the pseudonymous party and attributable to his refusal to pursue the case at

the price of being publicly identified; (6) whether the party seeking to sue pseudonymously has

illegitimate ulterior motives; (7) the universal level of public interest in access to the identities of

litigants; (8) whether, because of the subject matter of this litigation, the status of the litigant as a

public figure, or otherwise, there is a particularly strong interest in knowing the litigant’s

identities, beyond the public’s interest which is normally obtained; and (9) whether the

opposition to pseudonym by counsel, the public, or the press is illegitimately motivated. Doe v.

Megless, 654 F.3d 404, 409 (3d Cir. 2011). As outlined below, applying this framework to the

instant matter, Plaintiff here should be permitted to proceed under a pseudonym.




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        A.       Plaintiff’s identity has to date been kept confidential.

        The first factor weighs in favor of anonymity. To date, Plaintiff’s identity is not publicly

known and he has taken steps to keep his identity as a respondent in a Title IX investigation at

Harvard confidential.

       B.      The potential harms to Plaintiff that would result from disclosure of his
identity are substantial and irreparable.

        The second factor also weighs in favor of allowing Plaintiff to proceed pseudonymously

as the revelation of his identity would result in significant harm to Plaintiff, the exact type of

which he seeks to remedy by the commencement of this lawsuit.

        First, if the Court requires him to reveal his identity, even if he ultimately obtained a

favorable verdict on his Title IX gender bias and state law claims, his future academic and career

prospects would nonetheless be hindered as any medical school or potential employer could

discover that Plaintiff was accused of sexual misconduct by way of a simple internet search. The

District Court in Doe v. Trustees of Dartmouth College recognized as the most significant factor

in its analysis the plaintiff’s concern that public disclosure would forever subject him to

reputational damage and impair his future educational and career prospects, regardless of the

outcome of the litigation. Doe v. Trustees of Dartmouth Coll., No. 18-CV-040-LM, 2018 WL

2048385, at *5–6 (D.N.H. May 2, 2018). The Court agreed that this concern was “exacerbated in

the Internet age, which can provide additional channels for harassment and will connect

plaintiff’s name to Dartmouth’s findings and sanction forever, whether or not he is successful in

this litigation.” Id.

        While in the past courts strongly disfavored allowing plaintiffs to proceed anonymously

except in extreme circumstances, the nature of the internet today is such that any plaintiff is

readily identifiable, and his information accessible, via a simple online search. See Doe v.


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Purdue Univ., 321 F.R.D. 339, 343 (D. Ind. 2017). Without a means to control the content

disseminated by a media outlet covering a given case, courts must be willing to afford additional

protective measures to avoid further damage to a plaintiff involved in a matter concerning such

egregious and unfounded accusations as the present one. Critically, as is the case in the present

matter, “public identification could defeat the very purpose of the litigation.” Doe v. Trustees of

Dartmouth Coll. at *5–6.

       Second, Plaintiff should be permitted to proceed under a pseudonym given the personal

subject matter of this litigation. Plaintiff does not merely contend that the revelation of his name

would result in embarrassment or public humiliation. Rather, Plaintiff notes the highly sensitive

nature and privacy issues that could be associated with being falsely linked to an allegation of

sexual misconduct. As observed by the District Court in Doe v. Trustees of Dartmouth College,

“one’s sexual practices are among the most intimate parts of one’s life and the public disclosures

of such information may subject one to embarrassment or ridicule.” Doe v. Trustees of

Dartmouth Coll., at *5-6 (citing to Doe v. Blue Cross & Blue Shield of R.I., 794 F. Supp. 72, 74

(D.R.I. 1992) (internal citations omitted)). See also Doe v. Purdue Univ., 321 F.R.D. at 342

(“this litigation requires the disclosure of ‘information of the utmost intimacy,’ as demonstrated

by the details set out in the Complaint, including information regarding Plaintiff’s and Jane

Doe’s sexual relationship, Jane Doe’s allegations of sexual misconduct, and the details of the

University’s findings.”)

       The Northern District of Indiana agreed that, in a case where a student is challenging a

university’s disciplinary finding related to a sexual misconduct allegation, “forcing Plaintiff to

reveal his identity would not advance any aspect of the litigation but instead poses a risk that

Plaintiff would be subject to unnecessary ridicule and attention.” Doe v. Purdue Univ., 321

F.R.D. at 343 (D. Ind. 2017).



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       Given the potential harms implicated, numerous courts around the country, including this

one, have permitted plaintiffs alleging similar claims against colleges and universities to proceed

anonymously. See e.g. Doe v. W. New England Univ., 228 F. Supp. 3d 154 (D. Mass. 2017); Doe

v. Brown Univ., 210 F. Supp. 3d 310 (D.R.I. 2016); Doe v. Columbia Univ., 831 F.3d 46 (2d Cir.

2016); Doe v. Univ. of the South, 687 F. Supp. 2d 744 (E.D. Tenn. 2009); Doe v. Brandeis Univ.,

177 F. Supp. 3d 561 (D. Mass. 2016); Doe v. Univ. of S. Florida Bd. of Trustees, 2015 WL

3453753 (M.D. Fla. 2015); Doe v. Salisbury Univ., 2015 WL 3478134 (D. Md. 2015); Doe v.

Univ. of Cincinnati, 872 F.3d 393 (6th Cir. 2017); Doe v. Univ. of Montana, 2012 WL 2416481

(D. Mont. 2012) (“With respect to the individual students involved in the Student Conduct Code

proceeding, as well as the witnesses and University Court members involved in that proceeding,

the Court finds that the interests of those individuals in avoiding undue embarrassment,

harassment, and disclosure of sensitive private information outweigh the public's need to know

their names,” citing Does I–XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1068–69 (9th

Cir.2000)). Similarly, Plaintiff here should be permitted to proceed anonymously due to the

highly sensitive and personal nature associated with being falsely accused of sexual misconduct.

   C. Disclosure of Plaintiff’s identity would result in significant harm to Plaintiff.

       In addition, Plaintiff should be permitted to proceed anonymously in this matter as the

revelation of his identify would result in significant harm to Plaintiff, the exact type of which he

seeks to remedy by the commencement of this lawsuit. Specifically, if Plaintiff were required to

reveal his identity, any ultimate success in this matter would be negated by the disclosure of his

name. Thus, even if he were to achieve his objective of removing the sanction from all his

academic records, Plaintiff would nonetheless be significantly hindered in his ability to pursue

future career and educational endeavors, including graduate studies, as any entity or employer

would undoubtedly have access to the records related to the instant matter and discover that



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Plaintiff was accused of sexual misconduct. It is widely known that the likelihood of acceptance

as a transfer student for an undergraduate degree at an institution with a similar academic

reputation, and/or to a graduate institution of high caliber, is already significantly reduced in

light of the high number of applicants and stiff competition, but it is almost nil when a plaintiff

must contend with the social stigma associated with being found responsible and suspended for

sexual misconduct, regardless of whether the decision is ultimately overturned as a result of

litigation.

        Based on the foregoing, Plaintiff should be permitted to proceed anonymously, as

requiring him to reveal his identity would result in significant harm to Plaintiff, including the

exact damages he seeks to remedy in this matter: namely, physical, psychological, emotional and

reputational damages, economic injuries and the loss of educational and career opportunities.

    D. Defendants will not be prejudiced by allowing Plaintiff to proceed pseudonymously.

        Further, Plaintiff should be permitted to proceed anonymously as Defendants will not be

prejudiced in any way by proceeding against an anonymous party. “Other than the need to make

redactions and take measures not to disclose plaintiff's identity, defendants will not be hampered

or inconvenienced merely by Plaintiff's anonymity in court papers.” Plaintiff No. 2 v. Kolko, 242

F.R.D. 193, 198 (E.D.N.Y. 2006). Significantly, Defendants are already aware of Plaintiff’s true

identity. Thus, there is no doubt that Defendants will have an unobstructed opportunity to

conduct discovery, present their defenses and litigate this matter, regardless of whether Plaintiff

identifies himself or proceeds anonymously. Accordingly, Plaintiff must be permitted to proceed

anonymously in this action as revealing his name will cause significant prejudice to Plaintiff,

while proceeding anonymously will not hinder Defendants in any way.




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    E. There is a weak public interest in knowing Plaintiff’s identity.

         Plaintiff should also be permitted to proceed in this action anonymously as the public

does not have a strong interest in knowing his identity. Considering the purely legal nature of the

claims presented (i.e., Defendants violated Plaintiff’s right to fair process in violation of Title IX

and other federal and/or state law), there is a weak public interest in learning Plaintiff’s identity

as an individual. The public’s interest in this matter would not be furthered by disclosing

Plaintiff’s identity, as his challenges to HU’s biased and unfair investigatory process concern a

larger association than the interest of an individual plaintiff; they affect the male student

population at Harvard as a whole. See Plaintiff No. 2 v. Kolko, 242 F.R.D. 193, 195 (E.D.N.Y.

2006).

         Thus, there is simply nothing about the status of the Plaintiff that would heighten any

public interest beyond the normal public interest in any judicial proceedings sufficient to

outweigh Plaintiff’s right to privacy. Moreover, the public’s knowledge will only be minimally

restricted as it will still know what is alleged to have occurred that resulted in charges of sexual

misconduct being filed, and how the Defendants investigated and adjudicated those charges.

Allowing Plaintiff to proceed anonymously will not significantly obstruct the public’s interest in

this matter. Accordingly, there is not a strong public interest in knowing Plaintiff’s identity as an

individual, as the issues presented to this Court concern a much greater population of potential

plaintiffs.

    F. Additional considerations weigh in favor of permitting Plaintiff to remain
       anonymous.

         The remaining factors articulated in Doe v. Megless likewise weigh in favor of permitting

Plaintiff to proceed anonymously. Plaintiff does not have nefarious ulterior motives in seeking to

use a pseudonym, the parties are neither public figures nor government entities.




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        In addition, the difficulty in allowing involved non-parties to remain anonymous while

Plaintiff’s identity is revealed warrants the continued use of a pseudonym. The District Court in

Doe v. Trustees of Dartmouth College recognized the impact removing plaintiff’s anonymity

would have on plaintiff’s accuser Sally Smith, a non-party to the litigation, whose identity would

likewise be disclosed if plaintiff were publicly identified. Doe v. Trustees of Dartmouth Coll.,

No. 18-CV-040-LM, 2018 WL 2048385, at *6 (D.N.H. May 2, 2018).

        Similarly, it would be impractical, and time consuming, to require Plaintiff here to

disclose his identity, while allowing his accuser and the student witnesses interviewed in relation

to the allegations against Plaintiff to remain anonymous.

                                        CONCLUSION

        For these reasons and such other reasons as may appear just to the Court, Plaintiff

requests that his Ex Parte Motion to Proceed Under Pseudonym and for Protective Order be

granted in its entirety.

Dated: New York, New York
       October 15, 2018
                                             Respectfully submitted,

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                                             Attorneys for Plaintiff


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